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 9                                  UNITED STATES DISTRICT COURT

10                            NORTHERN DISTRICT OF CALIFORNIA

11
     ANDREA BARTZ, CHARLES                       Case No. 3:24-cv-05417-WHA
12   GRAEBER, and KIRK WALLACE
     JOHNSON, individually and on behalf of      JOINT STIPULATION AND [PROPOSED]
13   others similarly situated,                  ORDER REGARDING TECHNOLOGY
                                                 TUTORIAL
14                    Plaintiffs,

15   v.

16   ANTHROPIC PBC,

17                    Defendant.

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 1          The Parties, by and through their respective counsel of record, hereby stipulate and agree to

 2   the following terms that will govern the technology tutorial before the Court.

 3                              STIPULATION AND [PROPOSED] ORDER
 4          1.      The purpose of this Stipulation and Order is to set a technology tutorial.

 5          2.      For a tutorial for the Judge, counsel shall make presentations to set forth the basic

 6   technology related to the Large Language Models (LLMs) at issue in this case.

 7          3.      The parties will exchange demonstrative exhibits at least 48 hours before the

 8   hearing, subject to good faith changes in response to the other side’s presentation.

 9          4.      Each side will have 45 minutes on JANUARY 16, 2025 AT 10:00 A.M., subject to

10   the availability of the court. The public may attend the entire presentation. The presentation

11   materials, and representations made or stipulated to during the presentation, shall not be considered

12   evidence in this matter.

13          IT IS SO STIPULATED.

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     Dated: November 15, 2024                Respectfully submitted,
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                            Attorneys for Plaintiffs and the Proposed Class
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 9   IT IS SO ORDERED

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11   Date               HONORABLE WILLIAM ALSUP

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